                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF MISSOURI
                                 SOUTHWESTERN DIVISION

UNITED STATES OF AMERICA,                           )
                                                    )
                               Plaintiff,           )
                                                    )
vs.                                                 )      Case No. 16-05004-01-CR-SW-RK
                                                    )
JOSEPH L. SWOFFORD,                                 )
                                                    )
                               Defendant.           )

                                                ORDER

        On July 28, 2016, defendant appeared before United States Magistrate Judge David P. Rush and
entered a plea of guilty to Count One contained in the Indictment filed on January 19, 2016 (doc. 1). On
July 28, 2016, Judge Rush issued his Report and Recommendation (doc. 99).
        Upon careful and independent review, this Court finds that defendant’s plea was knowledgeable
and voluntary and that the offense charged is supported by an independent basis in fact containing each
of the essential elements of such offense. Accordingly, this Court hereby adopts and incorporates as its
own Opinion and Order the Report and Recommendation of United States Magistrate Judge David P.
Rush.
        Accordingly, it is hereby ORDERED that defendant’s plea of guilty is accepted and defendant is
adjudged guilty. The defendant’s sentencing hearing will be scheduled and the parties notified of the
date and time of sentencing.
        SO ORDERED.
                                                    s/ Roseann A. Ketchmark
                                                    ROSEANN A. KETCHMARK, JUDGE
                                                    UNITED STATES DISTRICT COURT

DATED: August 16, 2016




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